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                      IN THE UNITED STATED DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

RHATIA DOWNS JORDAN                                 :
111 Top of the Rock
Morgantown, West Virginia 26508                     :

       and                                          :

WALI RASHID JORDAN                                  :
111 Top of the Rock
Morgantown, West Virginia 26508                     :

       Plaintiffs,                                  :
                                                            Case No.: ____________________
v.                                                  :       on removal from
                                                            No. 2022 CA 003358 B
GUNTHER CHARTERS, INC.                              :       in the Superior Court of the
7474 Shipley Avenue                                         District of Columbia
Hanover, Maryland 21076                             :

       and                                          :

HUNT VALLEY MOTOR COACH, INC.                       :
7474 Shipley Avenue
Hanover, Maryland 21076                             :

       Defendants.                                  :

                     DEFENDANTS GUNTHER CHARTERS, INC. AND
                        HUNT VALLEY MOTOR COACH, INC’S
                              NOTICE OF REMOVAL

       COME NOW, Defendants Gunther Charters, Inc. and Hunt Valley Motor Coach, Inc.

(hereafter “Defendants”), by and through their undersigned counsel, Matthew M. Davey, Ryan

Nelson and Kiernan Trebach LLP, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, and file this

Notice of Removal of this action from the Superior Court of the District of Columbia, in which it

is now pending, to the United States District Court for the District of Columbia, on the following

grounds.
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                                      Nature of Plaintiffs’ Claims

       1.      On or about August 2, 2022, Plaintiffs filed the above action against Defendant

Gunther Charters, Inc. (hereafter “Gunther”) and Defendant Hunt Valley Motor Coach, Inc.

(hereafter “Hunt Valley”), in the Superior Court of the District of Columbia, Case No. 2022 CA

003358 B. [A copy of the Complaint is attached hereto as Exhibit #1.]

       2.      Plaintiffs’ Complaint seeks damages in an amount that exceeds $75,000. [Ex. #1,

Pgs. 9,10.]

       3.      Upon information and belief, Gunther was served with process on or after August

4, 2022.

       4.      At the present time, it is unclear whether Hunt Valley was served with process.

                                              Parties

       5.      Plaintiff Rhatia Downs Jordan (hereafter “Ms. Jordan”), alleges that she is an adult

residing in Morgantown, West Virginia. Therefore, pursuant to 28 U.S.C. § 1332(c)(1), for

diversity purposes, Ms. Jordan was a citizen of, West Virginia. [Id. Pg. 2, ¶2.]

       6.      Plaintiff Wali Rashid Jordan (hereafter “Mr. Jordan”), alleges that he is an adult

residing in Morgantown, West Virginia. Therefore, pursuant to 28 U.S.C. § 1332(c)(1), for

diversity purposes, Mr. Jordan was a citizen of West Virginia. [Id. Pg. 2, ¶3.]

       7.      Upon information and belief, Defendant Gunther is a Maryland corporation with

its principal place of business in Hanover, Maryland. Therefore, pursuant to 28 U.S.C. §

1332(c)(1), for diversity purposes, Gunther is a citizen of Maryland.

       8.      Upon information and belief, Defendant Hunt Valley is a Maryland corporation

with its principal place of business in Hanover, Maryland. Therefore, pursuant to 28 U.S.C. §

1332(c)(1), for diversity purposes, Hunt Valley is a citizen of Maryland.
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                                                   Jurisdiction

        9.       This action is a civil action which falls under this Court’s original jurisdiction

pursuant to 28 U.S.C. § 1332 (diversity of citizenship), and is one which may be removed to this

Court by Defendants pursuant to the provisions of 28 U.S.C. §§ 1441(a), (b) and (c).

        10.      This case is removable pursuant to 28 U.S.C. § 1441 because this United States

District Court has original jurisdiction of this case under 28 U.S.C. § 1332(a).

        11.      Plaintiffs are citizens of Morgantown, West Virginia.

        12.      Defendants Gunther and Hunt Valley are citizens of the State of Maryland.

Therefore, complete diversity exists between Plaintiffs and Defendants.

        13.      The amount in controversy in this action exceeds the value of $75,000, exclusive

of interest and costs.

        14.      Pursuant to 28 U.S.C. §§ 1332(a), 1441(a) and 1446(a), this Court has original

jurisdiction over this action because the amount in controversy exceeds $75,000 and because this

action is between citizens of different states.

        15.      Venue is proper because this District embraces the jurisdiction in which Plaintiffs

initiated their lawsuit.

                                        Removal Procedures

        16.      Removal of this case is proper under 28 U.S.C. § 1441(a), which provides in

relevant part that “any civil action brought in a State Court of which the district courts of the United

States have original jurisdiction, may be removed by the Defendant or Defendants, to the district

court of the United States for the district and division embracing the place where such action is

pending.”
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       17.      A copy of all process, pleadings, and orders served upon Defendants are attached

hereto as Exhibit A.

       18.      This removal is timely under 28 U.S.C. § 1446(b) because this Notice of Removal

was filed less than thirty (30) days from the date it is believed that Gunther was served with a copy

of the Complaint.

       19.      In accordance with 28 U.S.C. §1446(d), a true and correct copy of this Notice of

Removal is being filed promptly with the Clerk of the Superior Court for the District of Columbia,

and served along with written notice on all Parties and Counsel. A copy of the Notice of Removal

to the Clerk is attached hereto as Exhibit B.

       20.      This action is removable solely on the basis of jurisdiction under section 1332(a)

because none of the parties in interest properly joined and served as Defendants are a citizen of

the District of Columbia.

       21.      No admission of fact, law or liability is intended by this Notice of Removal, and all

defenses, affirmative defenses and motions are hereby reserved to Defendants.

       WHEREFORE, Defendants Gunther Charters, Inc., and Hunt Valley Motor Coach, Inc,

hereby remove the above-captioned action, which is now pending in the Superior Court of the

District of Columbia, Washington, DC.
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Dated: August 31, 2022                       Respectfully submitted,

                                             Kiernan Trebach LLP

                                                            /s/
                                             Matthew M. Davey, Esq. (Bar No. 484524)
                                             1233 20th Street NW, 8th Floor
                                             Washington, D.C. 20036
                                             Tel: (202) 712-7000
                                             Fax: (202) 712-7001
                                             mdavey@kiernantrebach.com
                                             Attorneys for Defendant Gunther Charters, Inc.

                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 31st day of August 2022, a copy of the foregoing Notice

of Removal was filed and served via the Court’s electronic case filing system and served via first-

class mail, postage prepaid, upon:

Demosthenes Komis, Esq.
2273 Research Boulevard, Suite 200
Rockville, Maryland 20850
Attorney for Plaintiffs




                                                         /s/
                                             Matthew M. Davey, Esq.
